                          UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

In re:                                                    : Chapter 7
                                                          :
Maria Victoria Diri,                                      : Case No. 5:21-bk-00329-MJC
                                                          :
                           Debtor                         :
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                                                     ORDER
         Upon consideration of the Application for Unclaimed Funds filed by Debtor, Dkt. # 67

(“Application”), after a hearing held on February 22, 2024, and it appearing that Debtor is not

entitled to these funds, in accordance with 28 U.S.C. §§2041-42, it is

         ORDERED that the Application filed on January 22, 2024 is DENIED.




                                                             By the Court,



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                                                             Mark J. Conway, Bankruptcy Judge
                                                             Dated: February 23, 2024




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